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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

Joshua Jordan,                             )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )       No. 1:22-cv-1301
                                           )
Enhanced Recovery Company, LLC, a          )
Delaware limited liability company,        )
                                           )
       Defendant.                          )       Jury Demanded

                                        COMPLAINT

       Plaintiff, Joshua Jordan, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s

collection actions violated the FDCPA, and to recover damages, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction, pursuant to § 1692k(d) of the FDCPA and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and c) Defendant transacts business here.

                                          PARTIES

       3.      Plaintiff, Joshua Jordan (“Jordan"), is a citizen of the State of Indiana,

residing in the Southern District of Indiana, from whom Defendant attempted to collect a

defaulted consumer debt that he allegedly owed for an AT&T account.

       4.      Defendant, Enhanced Recovery Company, LLC (“ERC”), is a Delaware

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt


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to collect, directly or indirectly, defaulted consumer debts that it did not originate. ERC

operates a nationwide defaulted debt collection business and attempts to collect debts

from consumers in virtually every state, including consumers in the State of Indiana.

       5.     Defendant ERC was acting as a debt collector, as that term is defined in

the FDCPA, as to the defaulted consumer debt it attempted to collect from Plaintiff.

       6.     Defendant ERC is authorized to conduct business in the State of Indiana,

and maintains a registered agent here, see, record from the Indiana Secretary of State,

attached as Exhibit A. In fact, Defendant ERC conducts extensive business in Indiana.

                            FACTUAL ALLEGATIONS

       7.     Due to financial difficulties, Plaintiff was unable to pay his debts, including

a debt he allegedly owed for an AT&T account. Defendant ERC attempted to collect this

debt from him via negative credit reporting.

       8.     Unsure about Defendant ERC, and unsure about the debt, Mr. Jordan

consulted with counsel about his debt issues and the debt that ERC was trying to

collect.

       9.     Accordingly, Mr. Jordan’s attorney wrote to Defendant ERC, via letters

dated March 12, 2021, and March 15, 2021, to notify it that Mr. Jordan was represented

by counsel, and that he disputed the debt that ERC was trying to collect. Copies of

these letters attached as Group Exhibit B.

       10.    These letters were sent via U.S. First Class Mail to Defendant’s address

and were not returned by the Post Office as undeliverable.

       11.    On July 26, 2021, Mr. Jordan obtained and reviewed a copy of his

Experian credit report, which showed that Defendant ERC had continued to report the



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AT&T debt after his dispute but had failed to note that the debt was disputed. The

pertinent part of Mr. Jordan’s Experian credit report is attached as Exhibit C.

       12.    Defendant’s violations of the FDCPA were material because Defendant’s

failure to note that the debt was disputed when Defendant reported, or continued to

report, the debt on Plaintiff’s credit report harmed his credit reputation, impaired his

credit rating and his ability to obtain credit. Moreover, Defendant’s failure to note, when

reporting the debt on Plaintiff’s credit report, that the debt was disputed, made it appear

to Plaintiff that he did not actually have the right to dispute the debt.

       13.    Furthermore, § 1692e(8) of the FDCPA’s command, that a debt collector

must communicate that a disputed debt is disputed, is rooted in the basic common law

principle of defamation/fraud that, if a debt collector elects to communicate credit

information about a consumer, it must not omit a material piece of information, namely

that the debt is disputed.

       14.    Defendant’s collection actions alarmed, confused and emotionally

distressed Mr. Jordan, negatively impacted his credit score, caused him to act to his

detriment, and cost him out-of-pocket expenses.

       15.    All of Defendant’s collection actions at issue in this matter occurred within

one year of the date of this Complaint.

       16.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard, see, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).




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                                        COUNT I
                         Violation Of § 1692e Of The FDCPA –
                         False or Misleading Representations

       17.    Plaintiff adopts and realleges ¶¶ 1-16.

       18.    Section 1692e of the FDCPA prohibits debt collectors from using any

false, deceptive or misleading means to collect or attempt to collect a debt, including,

but not limited to, communicating or threatening to communicate to any person credit

information which is known or which should be known to be false, including the failure to

communicate that a disputed debt is disputed, see 15 U.S.C. § 1692e(8)(“… the

following conduct is a violation of this section … including the failure to communicate

that a disputed debt is disputed …”); see also, Ewing v. Med-1 Solutions, 24 F.4th 1146,

1153 (7th Cir. 2022); Evans v. Portfolio Recovery Associates, 889 F.3d 337, 346 (7th

Cir. 2018); Sayles v. Advanced Recovery Systems, 865 F.3d 246, 249-250 (5th Cir.

2017); and Brady v. Credit Recovery, 160 F.3d 64, 65 (1st Cir. 1998).

       19.    Defendant, by continuing to report the debt to a credit reporting agency,

when it knew the debt was disputed by Plaintiff, and by failing to report that the debt

was disputed, used false, deceptive or misleading means to collect or attempt to collect

debts, in violation of § 1692e(8) of the FDCPA.

       20.    Defendant’s violation of § 1692e(8) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                      COUNT II
                        Violation Of § 1692f Of The FDCPA --
                    Unfair Or Unconscionable Collection Actions

       21.    Plaintiff adopts and realleges ¶¶ 1-16.



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         22.    Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f.

         23.    Defendant, by continuing to report the debt to a credit reporting agency,

when it knew the debt was disputed by Plaintiff, and by failing to report that the debt

was disputed, used unfair or unconscionable means to collect, or attempt to collect,

debts, in violation of § 1692f of the FDCPA.

         24.    Defendant’s violation of § 1692f of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                   PRAYER FOR RELIEF

         Plaintiff, Joshua Jordan, prays that this Court:

         1.     Find that Defendant’s collection practices violate the FDCPA;

         2.     Enter judgment in favor of Plaintiff Jordan, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

         3.     Grant such further relief as deemed just.

                                       JURY DEMAND

         Plaintiff, Joshua Jordan, demands trial by jury.

                                                   Joshua Jordan,

                                                   By: /s/ David J. Philipps______
                                                   One of Plaintiff’s Attorneys
Dated: June 30, 2022




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